      Case: 1:23-cv-15914 Document #: 34 Filed: 01/17/24 Page 1 of 2 PageID #:1606




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SHENZHEN JISU TECHNOLOGY CO
 LTD.,

                        Plaintiff,

                v.                                 Civil Action No. 1:23-cv-15914

 THE PARTNERSHIPS and                              Honorable Jeremy C. Daniel
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Shenzhen Jisu Technology Co Ltd.

(“Plaintiff”), by and through its undersigned counsel, hereby voluntarily dismisses this action

WITHOUT PREJUDICE as to the following Defendant:


 No.        Defendant Name                         Online Marketplaces/Store ID

 49         Matekxy                                A2UT2L6VV6LZ3E

 51         MILPROX                                A2YE6NSGB5C0VX


        Prior to the filing of this notice, Defendant has yet to file an answer or motion for summary

judgment.
   Case: 1:23-cv-15914 Document #: 34 Filed: 01/17/24 Page 2 of 2 PageID #:1607




DATED: January 17, 2024                           Respectfully submitted,

                                                  By: /s/ Hao Ni
                                                  Stevenson Moore
                                                  Texas Bar No. 24076573
                                                  smoore@nilawfirm.com
                                                  Hao Ni
                                                  Texas Bar No. 24047205
                                                  Texas hni@nilawfirm.com

                                                  NI, WANG & MASSAND, PLLC
                                                  8140 Walnut Hill Ln., Ste. 615
                                                  Dallas, TX 75231
                                                  Tel: (972) 331-4600
                                                  Fax: (972) 314-0900


                                                  Counsel for Plaintiff
